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                                   3                                     UNITED STATES DISTRICT COURT
                                   4                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   8                                                       Case No.: 4:21-cv-2155-YGR
                                   9                                                       ORDER DENYING WITHOUT PREJUDICE THE
                                                                                           MOTION FOR CLASS CERTIFICATION;
                                  10
                                                                                           GRANTING IN PART AND DENYING IN PART
                                  11   IN RE GOOGLE RTB CONSUMER PRIVACY                   GOOGLE’S DAUBERT MOTION TO EXCLUDE
                                       LITIGATION                                          THE EXPERT OPINIONS OF PROFESSOR NEIL
Northern District of California




                                  12                                                       RICHARDS;
 United States District Court




                                  13                                                       DENYING WITHOUT PREJUDICE PLAINTIFFS’
                                                                                           DAUBERT MOTION TO EXCLUDE THE EXPERT
                                  14                                                       OPINIONS OF BRUCE DEAL
                                  15                                                       Re: Dkt. No. 546, 582, 624
                                  16
                                  17          Pending before the Court are plaintiffs’ Motion for Class Certification, the parties’
                                  18   corresponding Daubert1 motions, and an Omnibus Sealing Motion that the Court will address by
                                  19   separate order. At issue is Google’s Real Time Bidding (“RTB”), the process through which it sells
                                  20   advertisements that make up the vast majority of its business. Plaintiffs assert: Although Google
                                  21   repeatedly promises its account holders that it has not, does not, and will not sell their personal
                                  22   information, they have garnered common evidence that Google sells this this type of data billions
                                  23   of times each day to hundreds of participating advertisers. This common evidence, plaintiffs
                                  24   conclude, justifies class certification. Google objects. It urges that individualized issues will
                                  25   predominate on the critical issue of whether individual account holders have consented to its RTB
                                  26   data collection.
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                                                  Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589–90 (1993).
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                                   1           Having carefully considered the papers submitted, the oral argument heard on February 21,
                                   2   2024, and for the reasons set forth below, the Court GRANTS IN PART AND DENIES IN PART
                                   3   Google’s Daubert motion to exclude the expert opinions of Neil Richards, DENIES as moot
                                   4   plaintiffs’ Daubert motion to exclude the expert opinions of Bruce Deal, and DENIES WITHOUT
                                   5   PREJUDICE the motion for class certification,.2 Though plaintiffs meet many of the requirements of
                                   6   class certification under Rule 23(b)(2), the motion must be denied so that plaintiffs can address two
                                   7   unresolved issues: (1) whether the class, as defined, is fail safe and, if so, whether striking
                                   8   “personal information” from the decision would result in an overbroad class; and (2) whether the
                                   9   RTB data produced thus far is representative of the class as a whole. See, e.g., In re Apple iPhone
                                  10   Antitrust Litig., No. 11-cv-6714, 2022 WL 1284104 (N.D. Cal. Mar. 29, 2022). That said, many of
                                  11   Google’s arguments are not well-taken. Where the Court has ruled on an argument, the parties shall
                                  12   not reassert it at the next round of briefing.
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                                  13           BACKGROUND
                                  14           The Court incorporates the background provided in its Order largely denying Google’s
                                  15   motion to dismiss. In re Google RTB Consumer Privacy Litig., 606 F. Supp. 3d 935 (N.D. Cal.
                                  16   2022). As relevant, plaintiffs allege that Google shares and sells its account holders’ information
                                  17   through its RTB auction system to advertisers, or RTB participants. Id. at 939. Because Google
                                  18   provides highly detailed information about its account holders, RTB participants can create profiles
                                  19   of individual account holders. Id. Plaintiffs allege that this amounts to the sale of account holders’
                                  20   personal information. Id. at 940. Google does this, plaintiffs argue, in direct violation of its promise
                                  21   made through its standardized Terms of Service, Privacy Policy, and various other disclosures
                                  22   hyperlinked in both that it does not sell personal information. Id. at 940–41.
                                  23           After the Court ruled on Google’s motion to dismiss, the parties engaged in a hotly disputed
                                  24   discovery process. A year later, on July 14, 2023, plaintiffs moved to certify a class under Federal
                                  25   Rules of Civil Procedure 23(b)(2) and (b)(3). Both parties also filed corresponding Daubert
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                                  28           2
                                                The Court also denies as moot Google’s evidentiary objections to certain evidence
                                       presented by plaintiffs in support of their reply brief. (Dkt. No. 628.)

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                                   1   motions. Because of the parties’ extended briefing schedule, the Court did not hold a hearing on
                                   2   this motion until February 21, 2024.
                                   3          LEGAL FRAMEWORK
                                   4                  DAUBERT MOTION
                                   5          Federal Rule of Evidence 7023 provides:
                                   6                  A witness who is qualified as an expert by knowledge, skill, experience, training, or
                                                      education may testify in the form of an opinion or otherwise if the proponent
                                   7                  demonstrates to the court that it is more likely than not that:
                                   8                  (a) the expert’s scientific, technical, or other specialized knowledge will help the
                                                      trier of fact to understand the evidence or to determine a fact in issue;
                                   9                  (b) the testimony is based on sufficient facts or data;
                                                      (c) the testimony is the product of reliable principles and methods; and
                                  10                  (d) the expert’s opinion reflects a reliable application of the principles and methods
                                  11                  to the facts of the case.
                                       Fed. R. Evid. 702 (emphasis supplied). At the class certification stage, “the relevant inquiry is a
                                  12
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                                       tailored Daubert analysis which scrutinizes the reliability of the expert testimony in light of the
                                  13
                                       criteria for class certification and the current state of the evidence.” Rai v. Santa Clara Valley
                                  14
                                       Transportation Auth., 308 F.R.D. 245, 264 (N.D. Cal. 2015); Grodzitsky v. Am. Honda Motor Co.,
                                  15
                                       957 F.3d 979, 985–86 (9th Cir. 2020). “Ultimately, the test under Daubert is not the correctness of
                                  16
                                       the expert’s conclusions but the soundness of [their] methodology.” Elosu v. Middlefork Ranch
                                  17
                                       Inc., 26 F.4th 1017, 1024 (9th Cir. 2022) (quotation marks and citation omitted).
                                  18
                                                      CLASS CERTIFICATION
                                  19
                                              A class action is “an exception to the usual rule that litigation is conducted by and on behalf
                                  20
                                       of the individual named parties only.” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). “Before
                                  21
                                       certifying a class, the trial court must conduct a rigorous analysis to determine whether the party
                                  22
                                       seeking certification has met the prerequisites of Rule 23.” Mazza v. Am. Honda Motor Co., 666
                                  23
                                       F.3d 581, 588 (9th Cir. 2012) (quotation marks omitted). The rigorous analysis that a court must
                                  24
                                       conduct requires “judging the persuasiveness of the evidence presented” for and against
                                  25
                                  26          3
                                                The Supreme Court updated the rule effective December 1, 2023. The changes are
                                  27   underlined. See Order of the Court, Rules of Evidence (April 24, 2023),
                                       https://www.supremecourt.gov/orders/courtorders/frev23_5468.pdf. The new language does not
                                  28   change the intent of the rule, rather it provides further clarity.


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                                   1   certification and “resolv[ing] any factual disputes necessary to determine whether” the
                                   2   requirements of Rule 23 have been satisfied. Ellis v. Costco Wholesale Corp., 657 F.3d 970, 982–
                                   3   83 (9th Cir. 2011). A “district court must consider the merits if they overlap with the Rule 23(a)
                                   4   requirements.” Id. (citations omitted). The party moving for certification first must show that the
                                   5   four requirements of Rule 23(a) are met. Specifically, Rule 23(a) requires a showing that: (1) the
                                   6   class is so numerous that joinder of all members is impracticable; (2) common questions of law or
                                   7   fact as to the class exist; (3) the claims or defenses of the representative parties are typical of those
                                   8   of the class; and (4) the representative parties will fairly and adequately protect the interests of the
                                   9   class. Fed. R. Civ. P. 23(a).
                                  10          The moving party must then show that the class can be certified based on at least one of the
                                  11   grounds in Rule 23(b). See Fed. R. Civ. P. 23(b). Relevant here, certification under Rule 23(b)(3) is
                                  12   appropriate only if “the questions of law or fact common to class members predominate over any
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                                  13   questions affecting only individual members” and “a class action is superior to other available
                                  14   methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Rule
                                  15   23(b)(2) permits certification of a class when “the party opposing the class has acted or refused to
                                  16   act on grounds that apply generally to the class, so that final injunctive relief or corresponding
                                  17   declaratory relief is appropriate respecting the class as a whole.”
                                  18          DAUBERT MOTIONS
                                  19          In its Daubert motion, Google moves to exclude the opinions of plaintiffs’ expert Professor
                                  20   Neil Richards in their entirety. (Dkt. No. 582.)4 It does so for five reasons: (1) Professor Richards
                                  21   impermissibly opines on ultimate questions of law; (2) he lacks the requisite expertise on consumer
                                  22   privacy expectations; (3) he lacks reliable methodology; (4) his opinions do not fit the facts of the
                                  23   case; and (5) he improperly opines on Google’s state of mind. (Id.) The Court examines each.
                                  24          Professor Richards is the Koch Distinguished Professor of Law at Washington University
                                  25   School of Law in St. Louis, Missouri. (Dkt. No. 545-9, Expert Class Certification Report on Neil
                                  26
                                  27
                                              4
                                               Plaintiffs, in turn, move to exclude the opinions of Google’s damages rebuttal expert,
                                       Bruce Deal. (Dkt. No. 624.) Because, as set forth below, the Court finds that the proposed class
                                  28   cannot be certified as a Rule 23(b)(3) damages class, it DENIES plaintiffs’ Daubert motion
                                       WITHOUT PREJUDICE.

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                                   1   Richards, “Richards Rep.” ¶ 11.) He also co-directs the Cordell Institute for Policy in Medicine and
                                   2   Law, where he focuses on problems involving the collection and use of personal information.
                                   3   Professor Richards is an affiliate scholar with the Stanford Center for Internet and Society, the Yale
                                   4   Information Society Project, and the Berkman-Klein Center at Harvard Law School, a Fellow with
                                   5   the Center for Democracy and Technology, and a member of the American Law Institute. (Id.) His
                                   6   expertise is in the field of information privacy. (Id. ¶ 13.) His body of work has focused on the
                                   7   historical importance of privacy, the continued importance of societal privacy norms, privacy
                                   8   rights, and privacy protections in our digital world. (Id.)
                                   9          Professor Richards sets forth six opinions in his report. First: “[P]rivacy—including
                                  10   freedom from unwanted surveillance—is a fundamental right and important societal norm with
                                  11   deep roots in the social, cultural, and legal history of the United States.” (Id. ¶ 2.) Second: Google’s
                                  12   Terms of Service and Privacy Policies “reflect a societal understanding that privacy is a
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                                  13   fundamental right and an important societal norm in the U.S.” (Id. ¶ 3.) Third: Google’s RTB
                                  14   process, and the scope and quantity of information it collects and sells about Google account
                                  15   holders, are at “extreme odds with fundamental privacy rights and societal privacy norms in the
                                  16   U.S.” (Id. ¶ 4.) Fourth: Societal privacy norms require Google to provide informative disclosures
                                  17   about what information it collects from its account holders. (Id. ¶ 5.) Fifth: There is “common
                                  18   evidence” that Google’s Terms of Service, Privacy Policies, and disclosures “give rise to a common
                                  19   (false) expectation that Google does not offer for sale or sell information about or associated with
                                  20   U.S. account holders to Google RTB participants.” (Id. ¶ 6.) Sixth: There is “common evidence”
                                  21   that Google fails to disclose its Google RTB auction to U.S. account holders or to offer any
                                  22   mechanism for them to affirmatively consent to the at-issue data collection. (Id. ¶ 7.)
                                  23          To start, the Court agrees with Google that opinions five and six are impermissible legal
                                  24   conclusions that are based on the cumulation of the prior opinions in the Report. Experts may not
                                  25   opine on “matters of law for the court.” Berman v. Freedom Fin. Network, LLC, 400 F. Supp. 3d
                                  26   964, 971 (N.D. Cal. 2019) (internal citations omitted). (Richards Rep. Sections VIII, IX.) In this
                                  27   regard, the Report is merely a “thinly disguised attempt to submit what is essentially an amicus
                                  28   brief as an expert report.” LD v. United Behavioral Health, No. 20-cv-2254-YGR, 2023 WL


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                                   1   2806323 at *3 (N.D. Cal. Mar. 31, 2023). Whether RTB data or Google’s disclosures are “common
                                   2   evidence” and whether Google violates the privacy rights of its account holders by failing to inform
                                   3   them of the at-issue data collection are two of the central legal questions raised by plaintiffs’ class
                                   4   certification motion. Plaintiffs cannot meet their burden by submitting an expert report that invades
                                   5   on the province of the Court. For that reason, the Court GRANTS Google’s motion as to the
                                   6   Professor Richards’s fifth and sixth opinions.
                                   7           Professor Richards’s third opinion—that there is “common evidence” that Google’s RTB
                                   8   violates societal privacy norms—impermissibly reaches both an ultimate question of fact and law.
                                   9   (See Richards Rep. Section VI.) In addition to opining on a legal issue raised by plaintiffs’ motion
                                  10   for class certification, Professor Richards’s opinion that RTB in fact violates privacy norms invades
                                  11   the province of a fact finder. (See, e.g., Richards Rep. ¶ 113 “Google’s practice of sharing . . .
                                  12   account holders’ bidstream data through Google RTB runs contrary to longstanding and important
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                                  13   privacy norms.”) That said, the rest of the section in which Professor Richards lays out this opinion
                                  14   is admissible. The Court therefore GRANTS Google’s motion to strike to the extent Professor
                                  15   Richards seeks to opine on factual and legal conclusions (see id. ¶¶ 93, 100, 113, 118), but DENIES
                                  16   it as to the rest of his third opinion.
                                  17           Moreover, Professor Richards’s opinion that Google “understands” its disclosures do not
                                  18   comport with societal norms and it knowingly gives account holders a “false” expectation of
                                  19   control over their information is an improper attempt to impute Google’s intent or state of mind.
                                  20   See Brown v. Google, No. 20-cv-3664-YGR, 2022 WL 17961497, at *12 (N.D. Cal. Dec. 12,
                                  21   2022). (See, e.g., Richards Rep. ¶¶ 126, 136.) Google’s motion in that respect is GRANTED.
                                  22           The Court, however, disagrees with Google that Professor Richards’s Report should be
                                  23   struck in its entirety. Professor Richards is an expert on consumer privacy expectations and the
                                  24   history of evolving privacy norms in the United States. (Richards Rep. ¶¶ 11–13.) He is certainly
                                  25   qualified by relevant “knowledge, skill, experience, training, or education” to comment on the
                                  26   reasonable privacy expectations of Google’s account holders. See Fed. R. Evid. 702. That he does
                                  27   not have a “marketing” degree or chose not to run a consumer expectations survey, per Google, is
                                  28   of no consequence. As this Court said in Brown v. Google, an Order on which Google relies in its


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                                   1   Daubert motion, “[a]n expert who offers testimony on the question o[f] what a reasonable
                                   2   consumer is likely to do and/or think is not required to conduct a consumer survey if his or her
                                   3   testimony is otherwise reliable.” 2022 WL 17961497 at *11 n.8.
                                   4          To that point, Professor Richards’s methodology is reliable. Google argues that his opinions
                                   5   are not based on a “scientific method,” see Cabrera v. Cordis Corp., 134 F.3d 1418, 1423 (9th Cir.
                                   6   1998), but on his own subjective belief, and thus, should be excluded. In evaluating expert
                                   7   testimony based on historical research, not all of the Daubert factors, such as whether the opinions
                                   8   are a product of a scientific, testable process, will be applicable. See Fed. R. Evid. 702 advisory
                                   9   committee’s note to 2000 amendment (recognizing that “not all of the specific Daubert factors can
                                  10   apply to every type of expert testimony”). As here, where Professor Richards bases his opinions on
                                  11   the way privacy norms have evolved over time, the Court instead must determine whether the
                                  12   expert’s testimony has “a reliable basis in the knowledge and experience of the relevant discipline.”
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                                  13   Elosu v. Middlefork Ranch Inc., 26 F.4th 1017, 1024 (9th Cir. 2022); see also, e.g., Walden v. City
                                  14   of Chicago, 755 F. Supp. 2d 942, 950 (N.D. Ill. Dec. 21, 2010) (noting that in academic historian
                                  15   with relevant experience in the field can meet Daubert qualifications). In other words, the expert in
                                  16   this type of case must explain “how that experience leads to the conclusion reached, why that
                                  17   experience is a sufficient basis for the opinion, and how the experience is reliably applied to the
                                  18   facts.” Fed. R. Evid. 702 advisory committee’s note to 2000 amendment. The rest of Professor
                                  19   Richards’s opinions are an application of his expertise in the history of privacy norms he has
                                  20   developed over the past twenty years. He has published books and peer-reviewed articles on the
                                  21   topic. See Daubert, 509 U.S. at 593 (“Another pertinent consideration is whether the theory or
                                  22   technique has been subjected to peer review and publication.”). For that reason, the Court finds that
                                  23   the rest of Professor Richards’s opinions have a reliable basis in his knowledge and experience in a
                                  24   discipline relevant to them.
                                  25          Moreover, Professor Richards’s opinions are obviously relevant. Google proposes that,
                                  26   because implied consent here is an individualized inquiry, see infra, Professor Richards’s opinion
                                  27   that there is a universal reasonable expectation of privacy is unfounded. This is specious. It is black
                                  28   letter law that whether someone has a reasonable expectation of privacy is an objective, and


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                                   1   therefore common, inquiry. Shulman v. Group W Prods., Inc., 955 P.2d 469, 490 (Cal. 1998). For
                                   2   that objective inquiry, Professor Richards’s experience in the history of evolving privacy norms and
                                   3   how those norms apply in this context is apt.
                                   4            For the reasons stated above, Google’s Daubert motion as to Professor Richards’s third,
                                   5   fifth, and sixth opinions (stated in Sections VI, VIII, and IX of his Report) is GRANTED IN PART
                                   6   AND DENIED IN PART but DENIED as to the rest.

                                   7            CLASS CERTIFICATION
                                   8            Plaintiffs seek to certify a class consisting of all individual Google account holders subject
                                   9   to a Google United States Terms of Service whose personal information was sold or shared by
                                  10   Google in its RTB auctions after June 28, 2016. They moved to do so under either Federal Rule of
                                  11   Civil Procedure 23(b)(2) or (b)(3)5 for the following California law claims: (1) breach of contract;
                                  12   (2) breach of confidence; (3) invasion of privacy; (4) intrusion upon seclusion; (5) publication of
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                                  13   private facts; and (6) violations of the California Information Privacy Act (“CIPA”), Cal. Pen. Code
                                  14   § 631.
                                  15                   RULE 23(A)
                                  16                           Class Definition
                                  17            Because the class definition is limited to Google account holders whose “personal
                                  18   information” was sold or shared, Google argues in a footnote that it is a fail-safe class. (See Dkt.
                                  19   No. 583-4, Google’s Opposition at 11 n.10.) Plaintiffs did not reply, perhaps considering this
                                  20   argument was only raised in a footnote. At the hearing, however, the Court gave both parties an
                                  21   opportunity to address the issue. Google argued plaintiffs’ class definition “embeds the concept of
                                  22   personal information” and therefore “subsumes the merits issue”—whether Google shared account
                                  23   holders’ personal information. (Dkt. No. 616-12, Tr. 76:7–16.) It continued that plaintiffs could not
                                  24   simply resolve the issue by striking “personal information” from the definition. (Tr. 79:1–5.) This
                                  25   would result in an “overbroad” class that contains uninjured members. (Tr. 79: 2.) Plaintiffs
                                  26   disagreed.
                                  27            5
                                               In a footnote, plaintiffs also request issue certification under Rule 23(c)(4). Because the
                                  28   Court denies with leave to amend plaintiffs’ motion for class certification, it does not address
                                       whether issue classes would be appropriate.

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                                   1           In Olean Wholesale Grocery Cooperative, Inc. v. Bumble Bee Foods LLC, an en banc panel
                                   2   of the Ninth Circuit rejected the argument that “Rule 23 does not permit the certification of a class
                                   3   that potentially includes more than a de minimis number of uninjured class members.” 31 F.4th
                                   4   651, 669 (9th Cir. 2022). Nevertheless, the Ninth Circuit stated, a district court “must consider
                                   5   whether the possible presence of uninjured class members means that the class definition is fatally
                                   6   overbroad.” Id. at 669 n.14. The problem with a class definition that includes uninjured class
                                   7   members is “the obverse of a different problem with class definition: the problem of the ‘fail-safe’
                                   8   class: one that is defined so that whether a person qualifies as a member depends on whether the
                                   9   person has a valid claim.” Messner v. Northshore University HealthSystem, 669 F.3d 802, 825 (7th
                                  10   Cir. 2012). “Defining a class so as to avoid, on one hand, being over-inclusive and, on the other
                                  11   hand, the fail-safe problem is more of an art than a science.” Id. Both, however, “can and often
                                  12   should be solved by refining the class definition rather than by flatly denying class certification on
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                                  13   that basis.” Olean, 31 F.4th at 669 n.14 (quoting Messner, 669 F.3d at 825).
                                  14           The Court agrees with Google that, as written, the class definition is fail safe. The question
                                  15   on which this suit hinges is whether Google impermissibly shared its account holders’ personal
                                  16   information through RTB. That said, the Court at this stage does not have enough information to
                                  17   analyze whether and to what extent omitting “personal information” from the class definition would
                                  18   result in an overbroad class. Even if it would, under Olean, the Court should refine rather than
                                  19   “flatly deny[]” a class that includes some number of uninjured members. See id. at 669 n.14.
                                  20   Plaintiffs suggested at the hearing that the Court could simply strike “personal information” from
                                  21   their proposed definition because the RTB data released thus far suggests that Google shares all
                                  22   account holders’ personal information through its RTB bids. As the Court explains below, see
                                  23   infra, plaintiffs have not yet satisfactorily demonstrated that this is the case.
                                  24           Given that the Court here denies plaintiffs’ motion for class certification with leave to
                                  25   amend, and to allow for more thorough exposition of the issue on both sides, the Court will rule on
                                  26   class definition at the next round of briefing. In that briefing, the parties should address the caselaw
                                  27   and concerns identified.
                                  28


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                                   1                          Numerosity
                                   2          The class proposed must be so numerous that joinder of all members individually would be
                                   3   impracticable. Fed. R. Civ. P. 23(a)(1). As the Supreme Court has explained, the “numerosity
                                   4   requirement requires examination of the specific facts of each case and imposes no absolute
                                   5   limitations.” A.B. v. Hawaii State Dep’t of Education, 30 F.4th 828, 835 (9th Cir. 2022) (quoting
                                   6   General Tel. Co. of the NW., Inc. v. EEOC, 446 U.S. 318, 330 (1980)). Plaintiffs contend that this
                                   7   requirement is met because there are potentially 1.4 billion U.S. accounts holders at issue. Google
                                   8   does not dispute this estimate. Accordingly, the Court concludes that plaintiffs have satisfied the
                                   9   numerosity requirement.
                                  10                          Commonality
                                  11          Commonality requires “questions of law or fact common to the class.” Fed. R. of Civ. P.
                                  12   23(a)(2). To satisfy this requirement, the common question must be of “such a nature that it is
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                                  13   capable of classwide resolution—which means that the determination of its truth or falsity will
                                  14   resolve an issue that is central to the validity of each of the claims in one stroke.” Wal-Mart Stores,
                                  15   Inc. v. Dukes, 564 U.S. 338, 350 (2011). “[F]or purposes of Rule 23(a)(2)[,] even a single
                                  16   [common] question will do.” Id. at 359 (quotation marks and citation omitted) (third alteration in
                                  17   original). Commonality has been “construed permissively, and all questions of fact and law need
                                  18   not be common to satisfy the rule.” Ellis v. Costco Wholesale Corp, 657 F.3d 970, 981 (9th Cir.
                                  19   2011) (cleaned up).
                                  20          Plaintiffs propose three common questions: whether (1) Google promised not to share or
                                  21   sell account holders’ personal or sensitive information to third parties; (2) Google offered for sale
                                  22   and/or sold account holders’ personal or sensitive information to RTB participants in Google RTB
                                  23   auctions; and (3) Google’s conduct contravenes societal norms and is highly offensive to a
                                  24   reasonable person. These questions are capable of classwide resolution, plaintiffs argue, because
                                  25   they can be answered in one stroke by Google’s standardized disclosures and its RTB data. Google
                                  26   disputes this. The Court analyzes whether plaintiffs have demonstrated that both types of
                                  27   evidence—Google’s disclosures and its RTB data—are capable of providing common answers. In
                                  28


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                                   1   addition, the Court addresses Google’s contention that the Court cannot certify the reasonable
                                   2   expectation of privacy element or CIPA claim because plaintiffs have no common proof for either.
                                   3                          a.      Google’s Disclosures
                                   4          Plaintiffs argue that Google’s Terms of Service, Privacy Policy, and the various documents
                                   5   incorporated will provide common proof to the question of whether Google promised its account
                                   6   holders it would not share or sell their personal information. In one disclosure, for example, Google
                                   7   tells its account holders: “We don’t sell users’ personal information.” (Dkt. No. 546-37, Google’s
                                   8   Privacy & Terms.) At the hearing, Google conceded that whether it made a contractual promise not
                                   9   to sell its account holders’ personal information is capable of classwide resolution. (Tr. 10:13–24.)
                                  10   It is for that reason that claims that arise from “form contracts” are “particularly appropriate for
                                  11   class action treatment.” 1 Newberg on Class Actions § 3.24 (6th ed.) The Court agrees that, at least
                                  12   for commonality purposes, Google’s standardized disclosures are common proof capable of
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                                  13   resolving that question.
                                  14                          b.      RTB Data Collection
                                  15          The parties dispute whether Google’s alleged sale of plaintiffs’ personal information is
                                  16   capable of classwide resolution. Google argues that because the data shared in each RTB bid varies,
                                  17   the answer to this common question will vary as well. Plaintiffs respond that Google always shares
                                  18   or sells sufficient information for an RTB participant to identify the Google account holder. In
                                  19   support, plaintiffs present reports from two experts, Professors Shafiq and Wilson, opining that
                                  20   virtually every Google RTB bid request produced thus far in discovery includes sufficient
                                  21   information to commonly identify the Google account holder.6
                                  22          To determine whether the RTB data will furnish a common answer, the Court analyzes two
                                  23   interrelated issues: whether (i) the RTB data produced thus far is personally identifying, and if so,
                                  24   (ii) it is representative of the class as a whole. First though, the Court lays out how the RTB auction
                                  25   process works, what plaintiffs’ experts conclude about that process, and Google’s experts’ rebuttal.
                                  26
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                                              6
                                                Dkt. No. 545-5, Expert Class Certification Report of Professor Zubair Shafiq, “Shafiq
                                       Rep.” Dkt. No. 545-6, Expert Class Certification Report of Professor Christopher Wilson, “Wilson
                                  28   Rep.” The Court notes that Google did not bring a Daubert motion to challenge these plaintiffs’
                                       experts’ qualifications or methodology.

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                                   1          The RTB Auction Process. Google’s RTB is so enormous it “may be difficult for the
                                   2   ordinary consumer to comprehend.” Every second Google auctions tens of millions of RTB “bids”
                                   3   to participating advertisers. (Shafiq Rep. ¶ 18.) The RTB process starts when a person visiting a
                                   4   website containing Google code, such as Google Analytics. Google’s code on the website transmits
                                   5   user information back to Google, including the user’s IP address and the URL of the website
                                   6   visited. Google then packages the information into a “bid request” and sends it to RTB auction
                                   7   participants. Participants send “bid responses” back to Google, which then uses these responses to
                                   8   determine the auction winner. Google then instructs its users’ browsers or app to display the
                                   9   winning bid’s advertisement. (Wilson Rep. ¶ 24.) This auction process is known as “real time
                                  10   bidding” because this all happens “faster than the blink of an eye.” (Shafiq Rep. ¶ 19.)
                                  11          The RTB protocol is identical for every one of its billions of daily bids. (Wilson Rep. ¶ 34;
                                  12   Shafiq Rep. ¶ 18; Tr. 10 at 11–18 (Google so conceding).) An RTB bid request contains hundreds
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                                  13   of fields about Google’s users. (Shafiq Rep. ¶ 28.) Google groups these fields into categories,
                                  14   including those that: represent a user’s location, such as a postal code; identify a particular account,
                                  15   such as an IP address; and denote browsing history, such as the URL of the webpage visited. (Id.
                                  16   ¶¶ 28–29.) That said, the actual user information shared through that protocol can differ from bid to
                                  17   bid.
                                  18          Relevant here, plaintiffs requested RTB data associated with the seven named plaintiffs
                                  19   during discovery. (Id. ¶ 35.) Google produced RTB bids for eight one-week periods which was
                                  20   required to be “representative” of the named plaintiffs’ data during the entire class period. (Id.; see
                                  21   also Dkt. No. 382.)
                                  22          Professor Shafiq’s expert opinion. Based on this sample, Professor Shafiq states that
                                  23   Google commonly populates at least sixty fields in all the bid requests it sends to RTB participants.
                                  24   (Shafiq Rep. ¶ 41.) Among those are: an encrypted version of the Google User ID; the URL of the
                                  25   website or app visited by the user; the IP address; the publisher of the website or application
                                  26   visited; various location fields; device information; and detected language. (Id. ¶ 42a–g.)
                                  27          Professor Shafiq concludes that, through RTB, advertisers could tell exactly where each
                                  28   named plaintiff lives and works, what content they were viewing, and what device and operating


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                                   1   system they used to view that content. (Id. ¶ 42.) Even with only a single bid request, an RTB
                                   2   participant could know, for example, that a plaintiff looked up a Bible verse near the Capital Mall
                                   3   in Jefferson City, Missouri or searched the symptoms and causes of insomnia on Mayo Clinic’s
                                   4   website near Lynwood, California on their Samsung Galaxy phone. (Shafiq Rep. ¶¶ 46a–46b.)
                                   5   Professor Shafiq notes, however, that RTB participants would not actually limit themselves to
                                   6   analyzing RTB data in isolation. Instead, RTB participants can stitch together detailed user profiles
                                   7   based on the many billions of RTB bids Google shares daily “to identify users with even more
                                   8   certainty.” (Id. ¶ 78.) In fact, Professor Shafiq notes, Google acknowledges that RTB participants
                                   9   are capable of “build[ing] very rich profiles if they receive a significant volume of bid requests.”
                                  10   (Id. ¶ 79.)
                                  11           From this, Professor Shafiq opines that RTB participants can use RTB data to identify a
                                  12   Google account holder in two ways. First, RTB participants who have their own relationship with
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                                  13   users can link the RTB data to their internal profiles. For example, many users have both Google
                                  14   and Amazon accounts; when Google shares RTB data about a user with Amazon, Amazon can then
                                  15   use its own internal profile to identify whose information was shared. The same would be true for
                                  16   those who also have Meta, LinkedIn, and Baidu accounts. (Id. ¶ 88.) Second, RTB participants
                                  17   “fingerprint” or analyze multiple pieces of information, often using machine learning, to
                                  18   probabilistically determine a user’s identity. Google is aware of these practices, Professor Shafiq
                                  19   concludes. (Id. ¶¶ 88, 88c.)
                                  20           Professor Wilson’s expert opinion. Next, Professor Wilson analyzed data by two RTB
                                  21   participants, the New York Times and the Trade Desk, who sold ad space through Google’s RTB.
                                  22   Professor Wilson concludes that RTB participants can use RTB data to identify individual account
                                  23   holders in three relevant ways.
                                  24           First, Professor Wilson opines that RTB participants use the RTB data transmitted by
                                  25   Google to “build ‘profiles’ of individuals by inferring their demographics, interests, hobbies, place
                                  26   of residence, etc.” (Wilson Rep. ¶ 31.) This data, like the Google User ID, URL fields, and IP
                                  27   address, is “reasonably capable of being linked to an individual or household.” (Id. ¶ 36.)
                                  28   Moreover, Professor Wilson opines, Google shares a “common core set” of information in every


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                                   1   RTB bid which can be linked to an individual account, such as: Google’s unique identifier for a
                                   2   user, or a cookie, truncated IP addresses, a user’s current latitude and longitude with accuracy, the
                                   3   model and make of their operating system, and the webpage the person is currently viewing. (Id.
                                   4   ¶ 37.)
                                   5            Second, Google allows an RTB participant to synchronize RTB data with an account holder
                                   6   through cookie matching. (Id. ¶¶ 43, 45–48.) Professor Wilson explains that Google might send its
                                   7   unique identifier, or cookie, to an RTB participant who can then match its own unique identifier for
                                   8   that account holder through the bid process. This allows an RTB participant to synchronize RTB
                                   9   data with an account holder. (Id. ¶¶ 45–48.) Professor Wilson references academic studies
                                  10   suggesting the process is widespread. (Id. ¶ 49.)
                                  11            Third, RTB participants can match RTB data to individual account holders through “user
                                  12   lists.” For example, an RTB participant might be interested in sending an advertisement to all the
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                                  13   people who visit a specific website, such as webmd.com. If Google auctions an impression for an
                                  14   account holder, it will note to RTB participants that the account holder is in the user list. (Id. ¶¶ 68,
                                  15   70, 72.)
                                  16            Finally, Professor Wilson concludes that account holders cannot avoid Google’s RTB
                                  17   process even if they attempt to use its privacy settings. (Id. ¶ 101.) For example, Google does tell
                                  18   users of its Account Ad Personalization Opt-Out (“GAP”) feature. Google has calculated, however,
                                  19   that only 4% of account holders have ever used the GAP feature. Further, even with GAP enabled,
                                  20   account holders still receive targeted ads based on their browsing history. (Id. ¶¶ 102, 103, 123.) In
                                  21   sum, Professor Wilson notes that “[t]he fact that the information shared and sold through Google
                                  22   RTB can be used to identify an individual or household is not surprising. The very purpose of
                                  23   Google RTB is to encourage RTB participants to bid on impressions in Google RTB. And, because
                                  24   RTB participants seek to target ads to individuals based on context . . . the nature of the
                                  25   information being shared and sold needs to facilitate that individual targeting.” (Wilson Rep. ¶ 41.)
                                  26            Google’s rebuttal experts. Google challenges Professors Shafiq and Wilson’s opinion that
                                  27   99.8% of the bid requests produced so far include sufficient information for an RTB participant to
                                  28   identify a particular Google account holder or household. Dr. Striegel and Dr. Psounis criticize


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                                   1   plaintiffs’ conclusions that RTB data was uniformly personally identifying on the ground that each
                                   2   RTB bid includes highly variable information that cannot be used to identify individuals in a
                                   3   statistically-significant way.7 (See generally Striegel Rep.; Psounis Rep.)
                                   4          Whether the RTB data produced thus far constitutes common proof. With that
                                   5   background, the Court considers whether plaintiffs have put forth evidence that RTB data could
                                   6   constitute personal information. Under California law, personal information is “information that
                                   7   identifies, relates to, describes, is reasonably capable of being associated with, or could reasonably
                                   8   be linked, directly or indirectly, with a particular consumer or household” including “[i]nternet or
                                   9   other electronic network activity information,” such as “browsing history, search history, and
                                  10   information regarding a consumer’s interaction with an internet website, application, or
                                  11   advertisement.” Cal. Civ. Code § 1798.140(v).
                                  12          Based upon named plaintiffs’ RTB data, Professor Shafiq was able to identify, for example,
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                                  13   a named plaintiff’s location, the website they had searched, and their unique device ID. Of course,
                                  14   RTB participants are not so limited; as Professors Shafiq and Wilson opine, advertisers can analyze
                                  15   the millions of bids sent by Google each day about named plaintiffs to create much more detailed
                                  16   profiles of plaintiffs’ locations, demographics, and preferences. As an example, with the limited
                                  17   discovery produced thus far, Professor Shafiq was able to pinpoint the exact coordinates of each
                                  18   named plaintiff’s home and work locations based on the RTB bids within, at most, a three-
                                  19   kilometer error rate. (Shafiq Rep. ¶ 42e.) In addition to those locations, RTB participants could tell
                                  20   that named plaintiffs were looking up religious verses, medical symptoms, gambling applications,
                                  21   and what a Supreme Court justice thought about a recent abortion decision. (Shafiq Rep. ¶ 46 a–g.)
                                  22          Plaintiffs do not contend that every RTB bid is identical, as Google argues. Instead, they
                                  23   propose that through its uniform RTB process, Google shares so much information about named
                                  24   plaintiffs that its RTB data constitutes “personal information.” Based on just eight weeks-worth of
                                  25   data about named plaintiffs, Google produced almost five million records of RTB bid request data
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                                  27          7
                                               Dkt. No. 584-2, Expert Report of Aaron Striegel, “Striegel Rep.” Dkt. No. 584-4, Expert
                                  28   Report of Konstantinos Psounis, “Psounis Rep.”


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                                   1   shared with hundreds of RTB participants around the world.8 (Shafiq Reb. ¶ 37.) This amounts to
                                   2   “10 thousand RTB bid requests per-user per-day.” (Id. (emphasis in original).) Plaintiffs have
                                   3   demonstrated sufficiently for class certification that this data, along with user lists and cookie
                                   4   matching, allows RTB participants to create detailed profiles of individual account holders. For that
                                   5   reason, the Court finds that named plaintiffs’ RTB data is uniformly personally identifying.
                                   6          What remains untested is whether the RTB data produced thus far is representative of the
                                   7   class as a whole. On this point, plaintiffs’ justifications do not suffice. Plaintiffs primarily argue
                                   8   that they have demonstrated that RTB data will provide common evidence for the rest of the class
                                   9   because the court required “Google’s production of sampled plaintiff data be representative of the
                                  10   entire class period and for the class as a whole.” (Dkt. No. 545-3, Class Certification Motion at 7
                                  11   (emphasis supplied).) In doing so, plaintiffs rely on two orders, one of which quotes the other. (Dkt.
                                  12   Nos. 382 and 483.)9 A close read of both reveals that plaintiffs overreach. In the first, Magistrate
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                                  13   Judge DeMarchi acknowledged Google’s point that “production of named plaintiff data for the
                                  14   entire class period would impose an undue burden,” so “some sampling” was appropriate as long
                                  15   as Google guaranteed that the specific time sample chosen was “representative.” (Dkt. No. 382
                                  16   (emphasis supplied).) Later, because the parties could not agree on what was a sufficiently
                                  17   representative time sample, she ordered the parties to confer on the potential production of
                                  18   additional periods of “named plaintiffs’ data.” (Dkt. No. 484 (emphasis supplied).) In other words,
                                  19   the court ordered Google to produce a sample of RTB data that was representative of the type of
                                  20   information that Google shared about named plaintiffs during the class period, not specifically one
                                  21   that was representative of every other putative member of the class. It did so because by this time
                                  22   plaintiffs only requested RTB data from named plaintiffs.10 (See, e.g., Dkt. No. 428-3.)
                                  23
                                              8
                                                  Dkt. No. 616-5, Rebuttal Report of Professor Shafiq, “Shafiq Reb.”
                                  24
                                              9
                                  25            These orders were written by Magistrate Judge DeMarchi, to whom discovery in this case
                                       was referred.
                                  26
                                              10
                                  27             The Court notes that plaintiffs originally requested RTB data about all putative class
                                       members. Google refused this discovery request as overbroad. (Dkt. No. 269.) After Google
                                  28   refused to produce RTB data for any account holder other than named plaintiffs, plaintiffs narrowed
                                       their request. (Dkt. No. 365.)

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                                   1          After Google’s experts challenged him on this point, Professor Shafiq responded that
                                   2   Google has produced millions of RTB bids about named plaintiffs thus far that are uniformly
                                   3   personally identifying and Google experts do not “identify any bid requests that differ in terms of
                                   4   content or form.” (Shafiq Reb. ¶¶ 37, 39.)11 Professor Shafiq also cites to academic literature
                                   5   indicating that Google collects information about the great majority of its users. (Id. ¶ 41.)
                                   6          Ultimately, the burden of demonstrating that evidence is common to the class rests with
                                   7   plaintiffs. So far, they have not. A jury cannot be instructed based upon plaintiffs’ inaccurate
                                   8   reading of the court’s orders. And Professor Shafiq’s rebuttal that Google has many millions of
                                   9   RTB bids about named plaintiffs that are uniform and none about putative class members that vary
                                  10   materially is well-taken but insufficiently developed. Plaintiffs need to affirmatively demonstrate,
                                  11   through expert testimony or otherwise, that the RTB data thus far is representative of all putative
                                  12   class members without resorting to orders that do not stand for that point. On the other hand,
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                                  13   Google cannot refuse to produce RTB data about other putative class members and then argue that,
                                  14   without this data, plaintiffs cannot meet their commonality burden. Because all six of plaintiffs’
                                  15   claims hinge on whether RTB data is personally identifying, plaintiffs’ failure to more definitively
                                  16   demonstrate that the RTB data thus far is representative of the class as a whole is fatal, even for
                                  17   commonality.12
                                  18          The Court reminds plaintiffs that simply accusing Google of producing discovery in bad
                                  19   faith, without more, will not do.13 Plaintiffs must meet this burden on the merits of their arguments.
                                  20   Because the Court expects that plaintiffs can address this deficiency, the Court DENIES plaintiffs’
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                                  22
                                  23          11
                                                Dkt. No. 616-5, Expert Class Certification Rebuttal Report of Professor Zubair Shafiq,
                                       “Shafiq Reb.”
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                                              12
                                  25             Though the Court acknowledges that the commonality requirement is less rigorous than
                                       the predominance one, and Google raises this argument with respect to both, it finds for the reasons
                                  26   stated above that even under Rule 23(a)(2)’s less demanding standard, plaintiffs have not met their
                                  27   burden.

                                  28          13
                                                This is especially true because Magistrate Judge DeMarchi has already denied plaintiffs’
                                       motion for sanctions. See Dkt. No. 487.

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                                   1   motion WITHOUT PREJUDICE on this point. See In re Apple iPhone Antitrust Litig., No. 11-cv-
                                   2   6714, 2022 WL 1284104, at *1 (N.D. Cal. Mar. 29, 2022).
                                   3                          c.      Reasonable Expectation of Privacy and CIPA
                                   4          Next, Google argues that the common evidence plaintiffs’ proffer for the reasonable
                                   5   expectation of privacy, Professor Richards’s Report, should be stricken. This argument is largely a
                                   6   repeat of Google’s Daubert motion against Professor Richards and is denied on the same grounds.
                                   7   In sum, though the Court does strike certain opinions offered by Professor Richards that are legal
                                   8   conclusions, the rest of Professor Richards’s Report will provide common proof on the objective
                                   9   inquiry of whether plaintiffs had a reasonable expectation of privacy.
                                  10          Finally, Google contends that plaintiffs’ CIPA claim cannot be certified because there is no
                                  11   evidence that all RTB data is intercepted within California. Cal. Pen. Code § 631(a). Google is
                                  12   headquartered in California and manages RTB from there. It offers no citation for the novel
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                                  13   proposition that plaintiffs must demonstrate the precise processor from where Google allegedly
                                  14   intercepted the contents of plaintiffs’ communications to meet its class certification burden. More
                                  15   importantly, the Court already told Google two years ago that if it did have evidence that it
                                  16   processes RTB bids from other locations, “Google shall produce it to the plaintiffs immediately.” In
                                  17   re Google RTB Consumer Privacy Litig., 606 F. Supp. 3d 935, 949 (N.D. Cal. 2022). Google never
                                  18   produced this information and in fact objected to plaintiffs asking for it. (See Tr. 123:17–20.) It
                                  19   cannot use the tactic both as a shield and a sword.
                                  20                          Typicality
                                  21          “The purpose of the typicality requirement is to assure that the interest of the named
                                  22   representative aligns with the interests of the class.” Wolin v. Jaguar Land Rover N. Am., LLC, 617
                                  23   F.3d 1168, 1175 (9th Cir. 2020) (citation omitted). “The typicality requirement looks to whether
                                  24   ‘the claims of the class representatives [are] typical of those of the class, and [is] “satisfied when
                                  25   each class member’s claim arises from the same course of events, and each class member makes
                                  26   similar legal arguments to prove the defendant’s liability.”’” Rodriguez v. Hayes, 591 F.3d 1105,
                                  27   1124 (9th Cir. 2010) (citation omitted) (alterations in original), abrogated on other grounds by
                                  28   Rodriguez Diaz v. Garland, 53 F.4th 1189 (9th Cir. 2022). The requirement is “permissive,” and


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                                   1   the representative’s claims need only be “reasonably co-extensive with those of absent class
                                   2   members.” Id. (quotation marks and citation omitted).
                                   3          The proposed class representatives here are, like all putative class members, subject to
                                   4   Google’s Terms of Service, its Privacy Policy, and other standardized disclosures. Google’s RTB
                                   5   uniformly collects their information and shares or sells it to potential advertisers. Because Google
                                   6   does not dispute this, the Court finds that the typicality requirement is met.
                                   7                          Adequacy
                                   8          For adequacy, Rule 23 requires that “the representative parties will fairly and adequately
                                   9   protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This requires inquiry into whether
                                  10   named plaintiffs and their counsel have any conflicts of interest with other class members, and
                                  11   whether plaintiffs and their counsel will prosecute the action vigorously on behalf of the class.
                                  12   Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003). Named plaintiffs and their counsel have
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                                  13   already spent years vigorously litigating discovery. Moreover, plaintiffs’ counsel has experience in
                                  14   complex and class action litigation, including privacy class actions. Google does not dispute this.
                                  15   For that reason, the Court finds that the adequacy requirement is met.
                                  16                    RULE 23(B)
                                  17          Because the Court expects plaintiffs will file a renewed motion for class certification, the
                                  18   Court addresses here whether plaintiffs’ class can be certified under Rule 23(b). Consistent with
                                  19   plaintiffs’ order of briefing, the Court first addresses whether plaintiffs have met the predominance
                                  20   requirement under Rule 23(b)(3). It then analyzes whether the class here can be certified under
                                  21   Rule 23(b)(2).
                                  22                          Rule 23(b)(3)
                                  23          Under Rule 23(b)(3), a court must find that “the questions of law or fact common to class
                                  24   members predominate over any questions affecting only individual members, and that a class action
                                  25   is superior to other available methods for fairly and efficiently adjudicating the controversy.” “An
                                  26   individual question is one where ‘members of a proposed class will need to present evidence that
                                  27   varies from member to member,’ while a common question is one where ‘the same evidence will
                                  28   suffice for each member to make a prima facie showing [or] the issue is susceptible to generalized,


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                                   1   class-wide proof.’” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (citation omitted)
                                   2   (alteration in original). The “predominance inquiry asks whether the common, aggregation-
                                   3   enabling issues in the case are more prevalent or important than the non-common, aggregation-
                                   4   defeating, individual issues.” Id. (quoting 2 Newberg and Rubenstein on Class Actions § 4:49 (5th
                                   5   ed.)). Rule 23 “grants courts no license to engage in free-ranging merits inquiries at the certification
                                   6   stage. Merits questions may be considered to the extent—but only to the extent—that they are
                                   7   relevant to determining whether the Rule 23 prerequisites for class certification are satisfied.”
                                   8   Amgen Inc. v. Connecticut Retirement Plans and Trust Funds, 568 U.S. 455, 466 (2013).
                                   9          The parties dispute whether consent defeats predominance. Google argues that its implied
                                  10   consent defense raises individualized issues.14 Plaintiffs disagree, urging that this defense is
                                  11   speculative because Google does not disclose to account holders that it in fact sells their personal
                                  12   information to hundreds of advertisers all over the world.
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                                  13          Someone “who consents to an act is not wronged by it.” Cal. Civ. Code § 3515. Consent is
                                  14   generally an element of contract formation or an affirmative defense to tort liability. Under
                                  15   California law, however, “[c]onsent may also be a defense to an action for breach of contract when,
                                  16   for example, the defendant can show that the plaintiff previously accepted and consented to the
                                  17   performance now asserted as a breach.” 2 Cal. Affirmative Def. § 32:1 (2d ed.). There are “two
                                  18   different forms of consent.” In re Google Inc. Gmail Litig., No. 13-md-2430, 2014 WL 1102660, at
                                  19   *14 (N.D. Cal. Mar. 18, 2014). In privacy litigation, consent can be “express,” but it can also be
                                  20   “implied in fact based on whether the surrounding circumstances demonstrate” that the party whose
                                  21   personal information was collected knew it. See id. (so holding for alleged privacy violations under
                                  22   the Federal Wiretap Act and CIPA). “Implied consent,” in particular, “is an intensely factual
                                  23   question that requires consideration of the circumstances” surrounding the alleged privacy
                                  24   violation. See id. at *16. For that reason, Judge Koh in In re Gmail concluded “that while consent
                                  25
                                  26          14
                                                 Google also argues that the Court should not certify plaintiffs’ Rule 23(b)(3) class
                                  27   because individualized issues will predominate over its CIPA claims, its reasonable expectation of
                                       privacy contention, and its RTB data. In addition, Google challenges plaintiffs’ damages model.
                                  28   Because the Court finds that it cannot certify a Rule 23(b)(3) damages class, it does not address
                                       these arguments.

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                                   1   may only be implied in a narrow set of circumstances, a broad set of materials are relevant to
                                   2   determining whether such consent should be implied.” Id. at *17.
                                   3          “Defenses that must be litigated on an individual basis can defeat class certification.”
                                   4   Brown, 2022 WL 17961497, at *17 (citing Truth Health Chiropractic, Inc. v. McKesson Corp., 896
                                   5   F.3d 923, 931 (9th Cir. 2018)). Because Google here raises consent as an affirmative defense, the
                                   6   Court must start by “analyzing the consent defenses [defendant] has actually advanced and for
                                   7   which it has presented evidence.” Id. (quoting Truth Health, 896 F.3d at 931) (alteration in
                                   8   original). In that regard, Google presents its own disclosures, RTB participants’ privacy policies,
                                   9   third-party materials, and consumer surveys. The Court reviews each.
                                  10          Google disclosures. Google cites to various Google disclosures and settings where it tells
                                  11   account holders that Google shares their information with third parties to serve advertisements. In
                                  12   its “How our business works” page, Google tells account holders that “[a]dvertising is what makes
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                                  13   it possible to offer our products to everyone. While we sell things like Pixel phones, apps on the
                                  14   Play Store, YouTube subscriptions, and tools for businesses, we make the vast majority our money
                                  15   from advertising.”15
                                  16          Google’s Privacy Policy tells its account holders that it “processes information to provide
                                  17   advertising, including online identifiers, browsing and search activity, and information about your
                                  18   location and interactions with advertisements.” That information, Google states, may be used to
                                  19   show “personalized ads.” Specifically, Google advises that it “may share non-personally
                                  20   identifiable information” with, among others, “advertisers.” For example, information about an
                                  21   account holders’ location, like their IP address, can be used to serve “ads based on your location.”
                                  22   Altogether, Google reveals that there are “over 2 million non-Google websites and apps that partner
                                  23   with Google to show ads.”
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                                  27          15
                                                Google, Terms of Service, https://policies.google.com/terms?hl=en-US. The Terms of
                                  28   Service has hyperlinked to the “How our business works” page since 2020.


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                                   1          The Privacy Policy also directs users to the “Advertising” page.16 There, Google tells
                                   2   account holders that “[a]dvertising keeps Google and many of the websites and services you use
                                   3   free of charge.” Google explains how it uses “cookies” to “show ads that are likely to be more
                                   4   relevant (such as ads based on websites you have visited),” in partnership with other websites.
                                   5   Google notes that “[s]ometimes the ad you see on a page is served by Google but selected by
                                   6   another company.” In addition to using “location information,” including IP addresses, Google
                                   7   “infer[s] demographic information, to improve the relevance of the ads you see, to measure ad
                                   8   performance and to report aggregate statistics to advertisers.” It notes, however, that Google
                                   9   “prohibit[s] advertisers from selecting an audience based on sensitive information, such as health
                                  10   information or religious beliefs.” Google informs users that they may “opt out of Ads
                                  11   Personalization” by turning off certain cookies.
                                  12          Next, the Privacy Policy directs users to the “How Google uses information from sites or
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                                  13   apps that use our services” page.17 There, Google tells account holders that “[m]any websites and
                                  14   apps use Google services to improve their content and keep it free. When they integrate our
                                  15   services, these sites and apps share information with Google.” Google notes it may collect
                                  16   information through cookies. Again, it reiterates that the type of information collected includes the
                                  17   URL of the page visited or an IP address which it uses to “personalize content and ads you see on
                                  18   Google and on our partners’ sites and apps.” This disclosure also tells account holders they may
                                  19   turn off ad personalization.
                                  20          Publisher disclosures. Google contends that RTB participants themselves have privacy
                                  21   policies that disclose they may share information with Google for advertisements. As one example,
                                  22   Google points to Accuweather.com’s privacy policy. (Dkt. No. 593-4.) In it, Accuweather.com has
                                  23   specific disclosures about Google. It tells its users its websites use Google Analytics and that their
                                  24          16
                                                Google, Advertising, https://policies.google.com/technologies/ads?hl=en-US. At the
                                  25   bottom of the Privacy Policy, Google directs users to “Other useful resources,” under which it
                                       hyperlinks to “Technologies used for Advertising (hyperlink).”
                                  26
                                              17
                                  27              Google, How Google uses information from sites or apps that use our services.
                                       https://policies.google.com/technologies/partner-sites?hl=en-US. Also at the bottom of the Privacy
                                  28   Policy, Google hyperlinks to “How Google uses information from sites or apps that use our
                                       services.”

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                                   1   information may be collected through Google’s cookies to, among other things, “inform, optimize
                                   2   and serve ads based on a user’s past visits to Accuweather sites.”
                                   3           Third-party materials. Next, Google argues that its account holders could learn about its
                                   4   RTB data collection from third-party materials like news articles and nonprofit reports. The
                                   5   Electronic Frontier Foundation (“EFF”), for example, published a report in 2020 about Google’s
                                   6   RTB process. (Dkt. No. 591-17.) In it, the EFF reported that, through RTB, Google sells its users’
                                   7   personal information, including their geolocation, gender, age, and interests.
                                   8           Consumer surveys. Finally, Google points to its expert, Dr. Hanssens, who conducted four
                                   9   surveys to understand Google account holders’ expectations of its RTB data collection. (Dkt.
                                  10   No. 584-6.) As relevant, in the Business Disclosures survey, Dr. Hanssens asked respondents
                                  11   whether they expected Google to share their information when exposed to the “How Our Business
                                  12   Works” disclosure. Based on this disclosure, Dr. Hanssens asked respondents to state how likely
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                                  13   they thought it was that Google shared their truncated IP address, the URL of where an ad should
                                  14   be placed, browser cookies, the category of the website, and characteristics of the web browser
                                  15   used. Between 45–74% of respondents stated that Google was very likely or somewhat likely to
                                  16   share that information after being shown Google’s disclosure. (Hanssens Rep. ¶ 60.) In the second
                                  17   survey, the Privacy Disclosures survey, Dr. Hanssens showed respondents portions of Google’s
                                  18   Privacy Policy. After reading the Privacy Policy, between 52–74% of respondents thought Google
                                  19   shared this information. (Id. ¶ 61.)
                                  20           The Court finds that individualized issues will predominate over plaintiffs’ damages claims.
                                  21   In litigating plaintiffs’ past consent to Google sharing certain types of information, like their IP
                                  22   address or URL viewed, Google has demonstrated that a factfinder will need to assess each account
                                  23   holder’s individual, and subjective, understanding of Google’s, RTB participants’, and third parties’
                                  24   disclosures. Because consent is a central issue to all six of plaintiffs’ claims, this individualized
                                  25   inquiry will drive the litigation for plaintiffs’ damages remedy.
                                  26           Plaintiffs’ arguments otherwise do not persuade. Though Google does not name RTB
                                  27   explicitly in its disclosures, Google tells users that it collects and sells various categories of
                                  28   information from its account holders to serve personalized ads. This is the layperson’s explanation


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                                   1   of RTB. That Google chose not to detail the very technical process by which it converts its users’
                                   2   information into advertisements in its generalized disclosures does not vitiate its consent defense.
                                   3           That said, as the Court explains further below, plaintiffs’ injunctive claims for future relief
                                   4   are distinguishable. Google represents that it can provide “personalized ads” by sharing only “non-
                                   5   personally identifiable information” while plaintiffs contend that Google is, in fact, sharing or
                                   6   selling personal information. Whether Google has done so and will continue to do so—in direct
                                   7   violation of its promise to account holders that it “never” has, “does not,” and “will not” sell their
                                   8   personal information—is an objective inquiry that can be answered on a common basis, making
                                   9   classwide injunctive relief possible.
                                  10           Accordingly, and as it did in Brown v. Google, the Court finds that all six damages claims
                                  11   implicate the affirmative defense of consent for which individualized inquiries will predominate.
                                  12   No. 20-cv-3664-YGR, 2022 WL 17961497, at *17–*18 (N.D. Cal. Dec. 12, 2022). For that reason,
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                                  13   plaintiffs’ motion to certify a Rule 23(b)(3) damages class is DENIED WITH PREJUDICE. In future
                                  14   briefing, plaintiffs will not relitigate this issue.
                                  15                            Rule 23(b)(2)
                                  16           Finally, the parties dispute whether the Court should certify a Rule 23(b)(2) injunctive class.
                                  17           Rule 23(b)(2) permits certification of a class when “the party opposing the class has acted or
                                  18   refused to act on grounds that apply generally to the class, so that final injunctive relief or
                                  19   corresponding declaratory relief is appropriate respecting the class as a whole.” To obtain
                                  20   certification under Rule 23(b)(2), plaintiffs must describe “the general contours of an injunction
                                  21   that would provide relief to the whole class, that is more specific than a bare injunction to follow
                                  22   the law, and that can be given greater substance and specificity at an appropriate stage in the
                                  23   litigation through fact-finding, negotiations, and expert testimony.” B.K. v. Snyder, 922 F.3d 957,
                                  24   972 (9th Cir. 2019) (quoting Parsons v. Ryan, 754 F.3d 657, 689 n.35 (9th Cir. 2014)).
                                  25           Because Google’s RTB is universal and its disclosures are generalized, the Court finds that
                                  26   an injunctive class under Rule 23(b)(2) is appropriate. Moreover, plaintiffs describe the general
                                  27   contours of the relief sought. Plaintiffs seek an order that would stop Google from sharing or selling
                                  28   their personal information without their knowing consent or a meaningful opportunity to opt-out.


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                                   1           Google arguments otherwise do not persuade. Google argues that plaintiffs effectively seek
                                   2   to halt RTB. Not so. Instead, plaintiffs request an injunction ultimately seeking transparency: if the
                                   3   evidence reveals that Google is selling personal, and sensitive, information about its account
                                   4   holders to hundreds of RTB participants worldwide, then Google must either tell its account holders
                                   5   or change its practice. There is evidence before the Court which already shows that Google shares
                                   6   enough information that RTB participants can discern what an account holder is reading online,
                                   7   even when it is on a religious or medical topic; exactly where they are reading it, including the
                                   8   coordinates of an account holder’s home or work; and their background, which allows for a
                                   9   detailed, demographic profile of the account holder. Google cannot run away from the common
                                  10   question of whether it promises its account holders that it would not sell their personal information
                                  11   and, if so, it violates that promise billions of times a day.
                                  12           To the extent plaintiffs seek transparency and opt-out procedures, Google argues that at
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                                  13   least some account holders already know it transmits certain information to advertisers or have
                                  14   availed themselves of its settings to avoid personalized ads. In so arguing, Google misses the point
                                  15   of the injunctive relief sought. Though the Court agrees with Google that individualized inquiries
                                  16   will be required for implied consent, whether Google promised not to share account holders’
                                  17   personal information is a different question. That question will be resolved on the basis of Google’s
                                  18   standardized disclosures—and therefore plaintiffs’ express consent—alone. See In re Gmail, 2014
                                  19   WL 1102660 at *19 (positing that for privacy claims sounding in breach of contract, only
                                  20   contractual disclosures, not extrinsic evidence, are relevant).18
                                  21           Finally, plaintiffs are not simply seeking to opt out of certain personalized ads; they are
                                  22   requesting a mechanism to opt out of Google RTB entirely. As Google confirmed at the hearing,
                                  23   there is currently no way for users to stop Google from selling information about their unique IDs,
                                  24   location, and browsing history through the billions of RTB bids exchanged every single day with
                                  25
                                  26           18
                                                 At the hearing, Google cited to In re Gmail for the opposite proposition. The Court notes
                                  27   that Judge Koh actually differentiated a breach of consent claim from, for example, a claim brought
                                       under the Wiretap Act on the question of whether “implied consent should be limited exclusively to
                                  28   Google’s disclosures.” 2014 WL 1102660 at *19. In that situation then, express consent would
                                       control. Google cites to no precedent holding otherwise.

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                                   1   hundreds of RTB participants from all around the world. (Tr. 36:7–22.) The injunctive relief sought
                                   2   would be an important step toward choice, accountability, and transparency.
                                   3          The Court therefore finds plaintiffs’ motion for an injunctive relief class under Rule
                                   4   23(b)(2) would be appropriate for purposes of plaintiffs’ claims under the UCL and CIPA.
                                   5          CONCLUSION
                                   6          For the foregoing reasons, and notwithstanding the Court’s rulings in favor of certain
                                   7   portions of plaintiffs’ motion, the Court:
                                   8          •       GRANTS IN PART AND DENIES IN PART Google’s Daubert motion against Professor
                                                      Richards;
                                   9
                                              •       DENIES as moot plaintiffs’ Daubert motion against Google’s expert Bruce Deal;
                                  10          •       DENIES WITH PREJUDICE plaintiffs’ motion for class certification under Rule
                                                      23(b)(3); and
                                  11
                                              •       DENIES WITHOUT PREJUDICE plaintiffs’ motion for class certification under Rule
                                  12                  23(b)(2).
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                                  13           This terminates Docket Nos. 546, 582, and 624.
                                  14           IT IS SO ORDERED.
                                  15   Date: April 4, 2024                                   _______________________________________
                                                                                                     YVONNE GONZALEZ ROGERS
                                  16                                                            UNITED STATES DISTRICT COURT JUDGE
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